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                                                                                           DISTRICT COURT
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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS                    JAMES
                                                                            By:                      CK, CLERK
UNITED STATES OF AMERICA                    )      No. 4:19CROO~~        t~/it\                        OEPCLr.:Ri(

                                            )
V.                                          )      18 U.S.C. § 922(g)(l)
                                            )
VICTOR QUANTRILL PORTER, JR.                )

                                        INDICTMENT

THE GRAND JURY CHARGES THAT:

                                          COUNTl

       A.      Prior to December 9, 2018, the defendant,

                                   VICTOR QUANTRILL PORTER, JR.,

had previously and knowingly been convicted of one or more of the following:

               1.     Violation of Uniform Control Substance Act, in Pulaski County, Arkansas,

                       Circuit Court, in Case Number 20091039;

               2.     Aggravated Robbery, in Pulaski County, Arkansas, Circuit Court, in Case

                      Number 20085138; and

               3.     Breaking or Entering, in Pulaski County, Arkansas, Circuit Court, in Case

                      Number 20172550.

       B.      The crimes set forth in paragraph A above were punishable by a term of

imprisonment exceeding one year.

       C.      On or about December 9, 2018, in the Eastern District of Arkansas, the

defendant,

                                   VICTOR QUANTRILL PORTER, JR.,

knowingly possessed, in and affecting commerce, a firearm, that is: a Springfield XD 45 caliber

sub compact Model 2 pistol bearing serial number GM431339, in violation of Title 18, United

States Code, Section 922(g)(l ).
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                              FORFEITURE ALLEGATION 1

       Upon conviction of the offense alleged in Count 1 ofthis Indictment, VICTOR

QUANTRILL PORTER, JR., shall forfeit to the United States pursuant to Title 18, United States

Code, Section 924(d), Title 21, United State Code, Section 853 and Title 28, United States Code,

Section 2461(c), all firearms and ammunition involved in the commission of the offense.




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